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                                  CERTIFICATE OF SERVICE
          The undersigned hereby certifies that on this 7th day of March, 2025, a copy of the

 foregoing First Amended and Supplemental Complaint for Declaratory Relief with Exhibits

 was served via CM/ECF, to the following counsel of record:

 David A. Jenkins
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                                                     /s/ Aimee M. Czachorowski
                                                     Del. Bar No. 4670




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